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                         IN THE UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TEXAS
                                    TYLER DIVISION

 UNITED STATES OF AMERICA                            §
                                                     §
                                                     § CASE NUMBER 6:20-CR-00084-JDK
 v.                                                  §
                                                     §
                                                     §
 CORY JSAMARD FORD (1)                               §


                ORDER ADOPTING UNITED STATES MAGISTRATE JUDGE’S
                     REPORT AND FINDING DEFENDANT GUILTY

             The Court referred this matter to the Honorable John D. Love, United States

      Magistrate Judge, for administration of a guilty plea under Federal Rule of Criminal

      Procedure 11. The Magistrate Judge conducted a hearing in the form and manner prescribed

      by Rule 11 and issued Findings of Fact and Recommendation on Guilty Plea. The Magistrate

      Judge recommended that the Court accept Defendant’s guilty plea and adjudge Defendant

      guilty on Count Two of the Indictment.

             The parties have not objected to the Magistrate Judge’s findings.

             The Court hereby ADOPTS the Findings of Fact and Recommendation on Guilty Plea

      of the United States Magistrate Judge. The Court also accepts Defendant’s plea but defers

      acceptance of the plea agreement until after review of the presentence report.

             In accordance with Defendant’s guilty plea, the Court finds Defendant Cory Jsamard

      Ford (1) GUILTY of Count Two of the Indictment, charging a violation of Title 21 U.S.C. §

      841(a)(1) - Possession with the Intent to Distribute Cocaine.

              So ORDERED and SIGNED this 29th day of March, 2021.



                                                        ___________________________________
                                                        JEREMY D. KERNODLE
                                                        UNITED STATES DISTRICT JUDGE
